                  z

                140.,        it/4-■ Ite iss4+- AtftZ, uova 1    ■Zile
                                       a44.x-4,71.) )4A/ 49.Aeyee 5•44L4
                                  Itt:ei.401/0tfiree frsd
                                             Å.4 1 .444j 00,404444
           eadov                                                  14)4-.Z
                  a•-"Tei aliaw.04- .4;z),          of dasit .4sZ 4444", .44
            d 4 • ii.ut          „J.*         iilao Itams4 40444,9 044--
                   Ave-                _44(i z4/40 doL4
           st4' tert7 _11.0).%.‘     tag, a4-40,
           •              -$44r7 07Z. -11-4...e
                  kw .2Zzaa...76v

                                        r4r.iSro (A,




    EXHIBIT

I    1.4
                                                                    Aingenner
                                                                   : A 008813

               Case 5:15-cv-00451-BO Document 148-13 Filed 03/30/17 Page 1 of 1
